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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                              *
LAVON DOBIE,                  *
                              *
     Petitioner,              *
                              * Civil Case No.: RWT-07-2039
v.                            * Criminal Case No.: RWT-04-235
                              *
UNITED STATES OF AMERICA,     *
                              *
     Respondent.              *
                              *
                             ***
                 MEMORANDUM OPINION AND ORDER

       On August 31, 2006, a trial jury found Petitioner Lavon Dobie guilty of conspiracy to

distribute and possession with intent to distribute controlled substances and related counts,

including possession of a firearm in furtherance of drug trafficking crime. See United States v.

Dobie, Criminal Action No. RWT-04-235 (D. Md.) (Judgment). Petitioner was sentenced on

December 19, 2006, to a total of 206 months of incarceration. See id. Petitioner filed a notice of

appeal on January 8, 2007, and that appeal is currently pending in the U.S. Court of Appeals for

the Fourth Circuit. See United States v. Dobie, No. 07-4115.

       On July 26, 2007, Petitioner requested that this Court vacate and/or reduce her sentence

under 28 U.S.C. § 2255 based on new evidence. See Paper No. 1146. The Government moved

to dismiss Petitioner’s § 2255 motion for lack of subject matter jurisdiction. See Paper No.

1149. On November 16, 2007, Petitioner filed a “Motion for Miscellaneous Relief,” requesting,

inter alia, that the Court withdraw her waiver for a speedy trial in connection with insurance

fraud charges pending against her. See Paper No. 1171. The Government moved to dismiss

Petitioner’s Motion for Miscellaneous Relief for lack of subject matter jurisdiction. See Paper
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No. 1173. Petitioner has also requested any and all documents related to her case. See Paper

Nos. 1171, 1303.

        Petitioner’s § 2255 motion is barred because her conviction is pending review in the

Fourth Circuit. Outside of exceptional circumstances, a § 2255 motion should not be heard

where a direct appeal is pending. See Bowen v. Johnston, 306 U.S. 19, 26–27 (1939). Petitioner

has not presented any extraordinary reasons why her § 2255 petition should be considered by this

Court while her appeal is pending.

        Petitioner’s Motion for Miscellaneous Relief is implicated in Petitioner’s appeal as well.

She asks this Court to reconsider her waiver for speedy trial in relation to insurance fraud

charges pending against her, but the insurance fraud matter has been stayed until Petitioner’s

appeal is final. Because the resolution of Petitioner’s appeal affects her Motion for

Miscellaneous Relief, the Court sees no reason to address it now.

        As for her document requests, Petitioner is represented by counsel on her appeal, and

counsel may obtain any documents necessary to effectively represent Petitioner.

        Upon consideration of Petitioner’s Motion To Vacate, Set Aside, or Correct a Sentence

under 28 U.S.C. § 2255 [Paper No. 1146], the Government’s Motion To Dismiss [Paper No.

1149], Petitioner’s Motion for Miscellaneous Relief [Paper No. 1171], the Government’s Second

Motion To Dismiss [Paper No. 1173], and Petitioner’s Motion for Copy Work [Paper No. 1303],

and any opposition and replies there to, it is for the reasons stated here on this 14th day of

December, 2009, by the United States District Court for the District of Maryland,

        ORDERED, that Government’s Motion To Dismiss [Paper No. 1149] is GRANTED,

and it is further




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       ORDERED, that Petitioner’s Motion To Vacate, Set Aside, or Correct a Sentence under

28 U.S.C. § 2255 [Paper No. 1146] is DISMISSED, and it is further

       ORDERED, that Government’s Second Motion To Dismiss [Paper No. 1173] is

GRANTED, and it is further

       ORDERED, that Petitioner’s Motion for Miscellaneous Relief [Paper No. 1171] is

DISMISSED, and it is further

       ORDERED, that Petitioner’s Motion for Copy Work [Paper No. 1303] is DENIED.



Date: December 14, 2009
                                                               /s/
                                                           ROGER W. TITUS
                                                    UNITED STATES DISTRICT JUDGE




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